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  12
                            UNITED STATES DISTRICT COURT
  13
                         CENTRAL DISTRICT OF CALIFORNIA
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  15   TERESA TURNER, INDIVIDUALLY                 Case No. 2:25-CV-00334-FMO-PD
       AND ON BEHALF OF ALL OTHERS
  16   SIMILARLY SITUATED,
  17                               Plaintiff,      DEFENDANT NATIONAL NOTARY
                                                   ASSOCIATION’S RULE 12 MOTION
  18         v.                                    TO DISMISS; MEMORANDUM OF
                                                   POINTS AND AUTHORITIES IN
  19   NATIONAL NOTARY                             SUPPORT; [PROPOSED] ORDER
       ASSOCIATION,
  20                                               Judge:        Fernando M. Olguin
                                 Defendant.
  21                                               Hearing: April 10, 2025
                                                   Time: 10:00 AM
  22                                               Ctrm: 6D
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   1                NOTICE OF MOTION AND MOTION TO DISMISS
   2         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE that on April 10, 2025 at 10:00 AM, or as soon
   4   thereafter as the matter may be heard, before the Honorable Ferando M. Olguin, in
   5   Courtroom 6D of the above-entitled Court, located at First Street Courthouse, 350
   6   W. First Street, Los Angeles, CA 90012, Defendant National Notary Association
   7   (“NNA” or “Defendant”), by and through its attorneys of record, will and hereby do
   8   move for an order dismissing the Complaint, ECF No. 1 (“Complaint”), with
   9   prejudice pursuant to Rules 12(b)(1) and (6) of the Federal Rules of Civil Procedure
  10   (“FRCP”).
  11         Plaintiff lacks Article III standing for her Video Protection Privacy Act, 18
  12   U.S.C. § 2710 (“VPPA”) claim because she cannot plead or prove that Defendant
  13   disclosed her “private” video viewing information in a manner that would establish
  14   a cognizable injury-in-fact. Plaintiff’s VPPA claim must also be dismissed for failure
  15   to state a claim under Rule 12(b)(6) because Plaintiff fails to plead the essential
  16   elements of the claim. Additionally, the VPPA as interpreted by Plaintiff is
  17   unconstitutionally vague under the Due Process Clause and violates the First
  18   Amendment.
  19         This motion is based upon the following memorandum of points and
  20   authorities, the declaration of Robert Clarke (“Decl.”), the proposed order, the
  21   complete files and records in this action, the argument of counsel, and any other
  22   matters the Court may consider.
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   1          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.3
   2         This motion is made following the conference of counsel pursuant to L.R. 7-
   3   3, which took place on March 6, 2025.
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   1   I.      INTRODUCTION
   2           In 1988, Congress enacted the Video Privacy Protection Act, 18 U.S.C. § 2710
   3   (“VPPA” or “Act”) to “codif[y] a context-specific extension of the substantive right
   4   to privacy.” Eichenberger v. ESPN, Inc., 876 F.3d 979, 983 (9th Cir. 2017) (italics
   5   in original; bold added). “Congress’s purpose in passing the [VPPA] was quite
   6   narrow: to prevent disclosures of information that would . . . permit an ordinary
   7   recipient to identify a particular person’s video-watching habits.” In re Nickelodeon
   8   Consumer Priv. Litig., 827 F.3d 262, 284 (3d Cir. 2016) (emphasis added).
   9           Plaintiff Teresa Turner(“Turner” or “Plaintiff”)’s Complaint1 is the latest in a
  10   recent flood of litigation seeking to transform this pre-internet statute, narrowly
  11   designed to prevent video stores from disclosing their customers’ private video
  12   viewing information, into a broad-ranging internet privacy law. Turner claims that
  13   defendant, National Notary Association (“NNA” or “Defendant”) – a notary
  14   resources and credentialing organization that is not in the business of buying or
  15   renting video tapes – violated the VPPA by allegedly installing third-party code (the
  16   “Pixel”) on www.nationalnotary.org (“Website”) which caused the disclosure of her
  17   “private video information” to Meta. Specifically, Turner – who publicly promotes
  18   herself as a notary and publishes her course completion certificate from the NNA
  19   – confoundingly claims that the very same NNA certification course is somehow her
  20   private video information. As explained below, Turner’s VPPA claim fails for lack
  21   of Article III standing and on the merits:
  22           First, Turner fails to allege any “concrete” or “particularized” harm to meet
  23   her burden of showing an Article III “injury in fact” required to sustain this action
  24   in federal court. Turner makes no factual allegations of harm – physical, economic
  25   or otherwise – whatsoever. Rather, this putative class action Complaint gambles its
  26   entire existence on generic allegations of a bare (and defectively pled) technical
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           Plaintiff’s Complaint, ECF No. 1, is cited herein as “Complaint” or “Compl.”
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   1   VPPA violation. This is inadequate for injury-in-fact purposes under TransUnion
   2   and its progeny. TransUnion LLC v. Ramierz, 559 U.S. 413, 425 (2021).
   3          Further, the VPPA enshrines a very narrow right of privacy – against the
   4   unauthorized disclosure of an individual’s private video viewing information. Here,
   5   Turner cannot demonstrate a particularized privacy injury for three distinct reasons:2
   6       1. The very course from the NNA that she claims is “private video
   7          information” (which itself is a tortured interpretation of the VPPA) was
              never disclosed by the NNA to Meta;
   8

   9       2. The NNA’s alleged disclosure to Meta could not have been “private
              video information,” because Turner herself voluntarily disclosed
  10          that information (i.e., her NNA Certificate of course completion) to
  11          Meta by posting it to her Facebook profile.

  12       3. Turner’s completion of the NNA course also cannot be private
              information because Turner herself proudly publishes and promotes
  13
              her NNA course completion certificate on various public forums
  14          (including LinkedIn and Facebook).
  15          Turner has no feasible Article III injury-in-fact and the Complaint must be
  16   dismissed. See § III(A), infra.
  17          Second, the Court should dismiss the Complaint because the NNA is not a
  18   “video tape service provider” 18 U.S.C. § 2710(a)(4) (“VTSP”), because the
  19   delivery of video content is not the “focus” or “defining feature” of the NNA’s
  20   business. See Walsh v. California Cinema Invs. LLC, 2024 WL 3593569, at *5 (C.D.
  21   Cal. July 29, 2024). The educational programming at issue is delivered via an
  22   independent third-party platform, and the online educational programs offered for
  23   purchase on the Website comprise only a small sliver (no more than 1-10%) of the
  24   NNA’s overall revenue. See § II(A), infra.
  25          Third, even if Turner can demonstrate Article III standing (she cannot) and
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       As set forth in § III(A)(1), infra,“[i]n resolving a factual dispute as to the existence
       2

  27 of subject matter jurisdiction, a court may review extrinsic evidence beyond the
     complaint without converting a motion to dismiss into one for summary judgment .
  28 . . . .” Fraley v. Facebook, Inc., 830 F.Supp. 2d 785, 793 (N.D. Cal. 2011).
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   1   establish that the NNA is a VTSP (it is not), the conclusory allegations included in
   2   the Complaint fail to state a claim. Only six paragraphs in the entire 86-paragraph
   3   Complaint concern Teresa Turner, and those paragraphs are threadbare and generic.
   4   Compl. ¶¶ 3-9. Turner fails to provide any facts regarding the video that she allegedly
   5   obtained or the private data that was allegedly transmitted and disclosed. The
   6   remaining 80 paragraphs do not remedy this pleading defect, as the allegations are
   7   nearly identical to those made in other VPPA complaints filed by the same counsel
   8   against different defendants.3 This form of generic pleading is exactly what this
   9   Court warned of in Byars v. Hot Topic, Inc., No. EDCV 22-1652 JGB (KKx), 2023
  10   WL 2026994, at *5 (C.D. Cal. Feb. 14, 2023):
  11
             Twombly-Iqbal pleading standards [can] be distilled to a single
  12         proposition: if a litigant pleads at such a high level of generality that it
  13         is possible to copy and paste a complaint word-for-word against a new
             defendant . . . , then almost by definition he is pleading without the
  14         factual specificity necessary to state a claim for relief.
  15   (emphasis added).
  16         Unsurprisingly, these copy-and-pasted boilerplate allegations concerning the
  17   Meta Pixel are also demonstrably incorrect. The Court can take judicial notice of the
  18   fact that the NNA Website does not host (or “deliver”) educational or training videos
  19   at all. Decl. ¶ 25.4 Those videos are hosted by an independent third-party platform,
  20   “CrowdWisdom” (the “Platform”) on a separate website that does not deploy the
  21   Pixel. Id. And the Pixel as deployed on the NNA Website was configured to not
  22   collect or disclose anything that could remotely constitute “private video
  23   information,” nor did it. Decl. ¶¶ 19-21. In addition to being inadequately pled, no
  24   VPPA-violative disclosure ever actually took place. See § III(A)(3), infra.
  25   3
        See Index 1, infra at p. 27 (listing 20 other cases filed by the law firm Hedin LLP
       with substantially similar complaints).
  26
  27  The NNA’s Memorandum of Points and Authorities is supported by the declaration
       4
     of the NNA’s Chief Financial Officer, Robert Clark. The declaration is attached as
  28 Exhibit A, and cited herein as “Decl.”
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   1         Fourth and finally, Turner’s expansive theory, if accepted, would extend the
   2   VPPA far beyond its intended scope and expose every website that hosts video clips
   3   (a hefty percentage in today’s modern world) to unforeseen liability and enormous
   4   damages claims. Interpreting the VPPA in this manner would violate Due Process
   5   and the First Amendment. See § III(C)(1)-(2), infra.
   6         As the Third Circuit cautioned in In re Nickelodeon Consumer Priv. Litig.,
   7   827 F.3d at 290, “The classic example [of a VPPA violation] will always be a video
   8   clerk leaking an individual customer's video rental history. Every step away from
   9   that 1988 paradigm will make it harder for a plaintiff to make out a successful
  10   claim.” Turner’s attempt to assert a privacy violation based on the NNA’s alleged
  11   disclosure of information that she herself publishes all over the internet is a
  12   significant departure from both the text of the VPPA statute and its intended purpose.
  13   The Complaint must be dismissed.
  14   II.   FACTUAL BACKGROUND
  15         A.     The National Notary Association
  16         The NNA is “the largest and oldest organization in the United States serving
  17   notaries and training persons to be notaries through certifications, training, seminars,
  18   conferences, and printed and online educational materials.” Compl. ¶ 14. The NNA
  19   is the ultimate source for every notarial need, including: notary insurance and
  20   bonding products, the provision of notary supplies (stamps, journals, thumb printers,
  21   handbooks etc.), notary public advocacy and networking, and notary training and
  22   education (predominantly through in-person seminars and conferences). Decl. ¶¶ 6-
  23   11 . As part of its larger training and education programming, the NNA offers online
  24   education courses for purchase. Decl. ¶ 10(a). But those online education courses
  25   constitute only a small sliver of NNA’s total sales, between 1-10%. Decl. ¶¶ 15-16.
  26         To purchase an online education course, a visitor must add the course to their
  27   shopping cart and go through a check-out process. Decl. ¶ 18. The shopping cart and
  28   checkout pages use generic URLs that are not descriptive of the items in the
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   1   shopping cart (e.g., nationalnotary.org/shoppingcart). Decl. ¶ 20. Meta does not
   2   receive the names of online education and training programs that are in a visitor’s
   3   shopping cart or that are purchased by the visitor. Decl. ¶ 21. In other words, the
   4   Meta Pixel is not configured to collect information related to a visitor’s purchase of
   5   an educational program from the Website.
   6         NNA also does not host or “deliver” the online education courses on its
   7   Website. Decl. ¶ 24. Rather, those courses are provided by an independent third-
   8   party called “CrowdWisdom.” Decl. ¶ 25. After purchase, the user is provided with
   9   a   hyperlink    that   takes   them     to   the   CrowdWisdom        platform,    at
  10   www.crowdwisdom.com. Decl. ¶¶ 26-27. Before entering the Platform, a user must
  11   affirmatively agree to CrowdWisdom’s Privacy Policy. Decl. ¶¶ 28-29. The
  12   CrowdWisdom Platform on which a user may view purchased course videos does
  13   not deploy the Meta Pixel. Decl. ¶ 31.
  14         B.     Plaintiff Teresa Turner
  15         Turner states that she is a California resident and a “user of Meta.” Compl. ¶
  16   8. In August 2024, Turner “purchased pre-recorded video content” from NNA’s
  17   Website, by “requesting and paying for such material, providing her name, email
  18   address, and home address for the delivery of such material.” Compl. ¶ 9. At some
  19   point thereafter, “Defendant completed the sale of goods to Plaintiff by shipping or
  20   delivering the prerecorded video material she purchased to the address she provided
  21   in her order.” Id. Turner then alleges generally that her “private video information”
  22   was shared by NNA with Meta. Id.
  23         The only course that Turner purchased from the NNA was its Notary Loan
  24   Signing Agent Certification course (“NNA Certification”). Decl. ¶ 16.
  25         Turner publicly promotes her association with the NNA. Turner specifically
  26   touts the NNA Certification she received after completing the NNA’s “Loan Signing
  27   Agent” course, including by posting a picture of the actual certificate, on both her
  28   LinkedIn and Facebook profiles. Decl. ¶ 34-40.
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   1   III.   ARGUMENT
   2          A.    PLAINTIFF LACKS ARTICLE III STANDING.
   3          Turner’s generic complaint fails because it does not even attempt to allege
   4   any actual harm or injury resulting from the alleged disclosure of her NNA
   5   Certification to Meta (let alone a violation of the content-specific, narrow privacy
   6   right the VPPA is designed to protect). See § III(A)(2), infra. But even if pleading
   7   the statutory elements of the VPPA were sufficient to plead an Article III injury,
   8   Turner, as a matter of fact, has no cognizable injury because the alleged disclosure
   9   by the NNA to Meta did not occur. See § III(A)(2), infra. Additionally, Turner has
  10   no privacy interest in the NNA Certification that she herself has published to Meta
  11   and promoted to the public on multiple internet platforms. See § III(A)(3)-(4), infra.
  12                1.     Rule 12(b)(1) Standard for Factual Challenges.
  13          Under Rule 12(b)(1), if the court determines at any time that it lacks subject
  14   matter jurisdiction, the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3). “The
  15   party asserting subject matter jurisdiction bears the burden of establishing it.” Holley
  16   v. Gilead Scis., Inc., 410 F. Supp. 3d 1096, 1100 (N.D. Cal. 2019). A Rule 12(b)(1)
  17   challenge to Article III standing may be facial or factual. Safe Air for Everyone v.
  18   Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). Where the attack is facial, the court
  19   must accept all material allegations in the complaint as true and construe them in
  20   favor of the party asserting jurisdiction. Fraley v. Facebook, Inc., 830 F. Supp. 2d
  21   785, 793 (N.D. Cal. 2011).
  22          But where, as here, the attack is factual, “the court need not presume
  23   truthfulness of the plaintiffs’ allegations.” Safe Air for Everyone, 373 F.3d at 1039.
  24   “In resolving a factual dispute as to the existence of subject matter jurisdiction, a
  25   court may review extrinsic evidence beyond the complaint without converting
  26   a motion to dismiss into one for summary judgment . . . Once a party has moved
  27   to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1), the opposing
  28   party bears the burden of establishing the Court’s jurisdiction.” Fraley, 830 F. Supp.
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   1   at 793-794 (citing McCarthy v. United States, 850 F.2d 558, 560 (9th Cir. 1988)
   2   (holding that a court “may review any evidence, such as affidavits and testimony, to
   3   resolve factual disputes concerning the existence of jurisdiction”); see also Chandler
   4   v. State Farm Mut. Auto. Ins. Co., 598 F.3d 1115, 1122 (9th Cir. 2010). A district
   5   court may permit discovery to determine if it has subject matter jurisdiction. Data
   6   Disc, Inc. v. Sys. Tech. Assoc., Inc., 557 F.2d 1280, 1285 (9th Cir. 1977).5
   7                2.      Turner Does Not Allege Any Harm.
   8         To meet the requirements of Article III standing, a plaintiff must show an
   9   “injury-in-fact” that “is (a) concrete and particularized and (b) actual or imminent,
  10   not conjectural or hypothetical.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.,
  11   Inc., 528 U.S. 167, 180-81 (2000). A “general legal, moral, ideological, or policy
  12   objection” is not an injury-in-fact. Food & Drug Admin. v. All. for Hippocratic Med.,
  13   602 U.S. 367, 368 (2024). Nor is a “bare procedural violation” of a statute. Spokeo,
  14   Inc. v. Robins, 578 U.S. 330, 341 (2016).
  15         Even in a putative class action, Turner must “allege and show that [she]
  16   personally [has] been injured.” Winsor v. Sequoia Benefits & Ins. Servs., LLC, 62
  17   F.4th 517, 523 (9th Cir. 2023) (internal quotations and citations omitted). Merely
  18   alleging a statutory violation is insufficient to establish Article III standing. Spokeo,
  19   578 U.S. at 341. The Supreme Court has “rejected the proposition that ‘a plaintiff
  20   automatically satisfies the injury-in-fact requirement whenever a statute grants a
  21   person a statutory right and purports to authorize that person to sue to vindicate that
  22   right.’” TransUnion, 594 U.S. at 426 (quoting Spokeo, 578 U.S. at 341). Rather,
  23   “[f]or standing purposes . . . an important difference exists between (i) a plaintiff’s
  24   statutory cause of action to sue a defendant over the defendant’s violation of . . . law,
  25

  26
  27   The NNA’s request for judicial notice provides a basis to allow this Court to
       5
     consider public facts and documents including Turner’s Facebook Page in a Rule 12
  28 motion. See § (III)(B)(2), infra.
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   1   and (ii) a plaintiff’s suffering concrete harm because of the defendant’s violation of
   2   . . . law.” Id. at 426-27.
   3          Thus, asserting a VPPA claim does not relieve Turner of her obligation to
   4   “allege and show” she suffered a concrete harm from the alleged statutory violation.
   5   See, e.g., Valenzuela v. Keurig Green Mountain, Inc., 2023 WL 6609351, *1 (N.D.
   6   Cal. Oct. 10, 2023) (“While [p]laintiff alleges Defendant violated [the California
   7   Invasion of Privacy Act (“CIPA”)], [p]laintiff fails to allege any facts to support an
   8   inference Defendant engaged in any kind of privacy violation.” (emphasis added)).
   9   Turner generically alleges that she “purchased pre-recorded video material” from
  10   NNA around August 2024, that she had a Meta account at that time, and that the
  11   NNA disclosed her Facebook ID, “detailed information revealing the titles and
  12   subject matter of the prerecorded videos,” and the “URL where such videos are
  13   available for purchase.” Compl. ¶¶ 9-11, 41; 58-57. The remainder of the Complaint
  14   contains even more generalized statements about the history of the VPPA and facts
  15   pertaining to how the Meta Pixel may theoretically be deployed (depending on the
  16   configuration employed by a user). Compl. ¶¶ 24-40; 42-57 (see, e.g., ¶ 47, tools a
  17   business “may use”; ¶ 52, “depending on the configuration”).These “generalized and
  18   conclusory allegations that the [Pixels are] capable of capturing private data” are
  19   “insufficient to assert that [Turner] suffered a concrete injury as a result of [the
  20   NNA’s] conduct.” Posadas v. Goodyear Tire & Rubber Co., No. 23-CV-0402-L-
  21   DDL, 2024 WL 5114133, at *4 (S.D. Cal. Dec. 13, 2024) (discussing CIPA). Turner
  22   fails this requirement in two ways:
  23          First, Turner fails to plead Article III injury-in-fact because she does not plead
  24   a plausible VPPA claim. See, e.g., Daghaly v. Bloomingdales.com, LLC, No. 23-
  25   4122, 2024 WL 5134350, *1 (9th Cir. Dec. 17, 2024, R. 36-3 Opp.) (“Plaintiff lacks
  26   standing because her allegations are insufficient to state a claim under the [statutory]
  27   provision she invokes.”). Turner does not allege facts to demonstrate that: (b) the
  28   NNA’s content is “audio visual material,” (c) private video information was actually
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   1   disclosed to Meta or (d) NNA qualifies as a “video tape service provider.” See §
   2   III(B)(3)-(4), infra (Turner’s complaint fails under Fed. R. Civ. P. 12(b)(6)).
   3         Secondarily, even if Turner had adequately alleged the elements of a VPPA
   4   claim, Turner does not even attempt to articulate what concrete harm she suffered
   5   from the NNA’s alleged disclosure to Meta. Thus, Turner fails to meet Article III’s
   6   injury-in-fact requirement because she does not plead that she suffered “any harm at
   7   all.” TransUnion, 594 U.S. at 440 (emphasis in original).
   8                3.     Turner Cannot Claim a “Disclosure” of “Private”
                           Information that She Herself Disclosed to Meta.
   9
             Turner also lacks an Article III injury-in-fact because she voluntarily
  10
       disclosed to Meta the exact information she alleges is “private” video information
  11
       (her NNA Certification course). Again, the VPPA “codifies a context-specific
  12
       extension of the substantive right to privacy.” Eichenberger, 876 F.3d at 983 (9th
  13
       Cir. 2017) (italics in original, bold added). Specifically, a “privacy interest in his or
  14
       her video-viewing history.” Id. (citing Mollett v. Netflix, Inc., 795 F.3d 1062 (9th
  15
       Cir. 2015) (citing S. Rep. No. 100–599, at 1 (1988), reprinted in 1988 U.S.C.C.A.N.
  16
       4342)). Thus, it is the “disclosure of an individual’s ‘personally identifiable
  17
       information’ and video-viewing history [that] offends the interests that the VPPA
  18
       protects.” Id. (emphasis added).
  19
             In other words, to demonstrate Article III standing for a VPPA violation,
  20
       Turner must show that the NNA infringed on the narrow privacy right that the VPPA
  21
       was designed to protect. See, e.g., Byars, 2023 WL 2996686, at *3 (“[p]laintiff does
  22
       not allege that she disclosed any sensitive information to Defendant, much less
  23
       identify any specific personal information she disclosed that implicates a protectable
  24
       privacy interest.” (discussing CIPA)). But, an individual does not have a substantive
  25
       privacy right (i.e., cannot claim that an offending disclosure has occurred) for
  26
       information the individual voluntarily disclosed. See Osheske v. Silver Cinemas
  27
       Acquisition Co., 700 F. Supp. 3d 921, 926-27 n. 4 (C.D. Cal. 2023) (the “VPPA
  28
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   1   [was] intended to address private video viewing habits—not public acts like
   2   attending a theater”); see also Hoge v. VSS-Southern Theaters LLC, 1:23-cv-346,
   3   2024 WL 4547208 (M.D.N.C. Sept. 10, 2024) (finding Osheske persuasive and
   4   holding that an individual who buys a ticket to a theater is not a protected
   5   “consumer”). This District Court’s decision in Osheske is instructive.
   6         In Osheske, a patron purchased movie tickets from a movie theater’s website.
   7   Id. at 922. The patron alleged that the movie theater violated the VPPA by disclosing
   8   the name of the film he intended to watch to Meta by implementing the Meta Pixel
   9   on its Website. Id. In granting the movie theater’s Rule 12 motion, the District Court
  10   explained that the VPPA was intended to protect against the disclosure of private
  11   video watching habits. Id. at 926 (citing VPPA’s legislative record). That content-
  12   specific privacy right was not implicated by “public acts like attending a theater.”
  13   Id. at 927 (citing Paris Adult Theatre I v. Slaton, 413 U.S. 49, 65 (1973)). See also
  14   In re Nickelodeon Consumer Priv. Litig., 827 F.3d at 384 (“Congress's purpose in
  15   passing the [VPPA] was quite narrow: to prevent disclosures of information that
  16   would . . . permit an ordinary recipient to identify a particular person’s video-
  17   watching habits.” (emphasis added).
  18         Osheske supports that the VPPA’s narrow and context-specific privacy right
  19   is not implicated (and thus the VPPA is not violated) when an individual watches a
  20   movie in a public movie theater, because that individual would expect other movie
  21   patrons to observe them watching the movie. In other words, an individual has no
  22   expectation of privacy in their public video-watching habits.
  23         Osheske is not only consistent with the intent and purpose of the VPPA, but it
  24   is also consistent with the federal courts’ treatment of an individual’s expectations
  25   of privacy in information voluntarily disclosed to a third-party or published to the
  26   general public. See Rinderer v. Delaware Cnty. Child. & Youth Servs., 703 F. Supp.
  27   358, 362 (E.D. Pa. 1987) (“Voluntary disclosure amounts to waiver of a privacy
  28   claim.”). Indeed, the United States Supreme Court “consistently has held that a
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   1   person has no legitimate expectation of privacy in information he voluntarily turns
   2   over to third parties.” Smith v. Maryland, 442 U.S. 735, 743–44 (1979) (collecting
   3   cases, discussing expectation of privacy in the Fourth Amendment context where the
   4   expectation of privacy is higher).
   5         The rule that an individual has no privacy right in information that the
   6   individual intentionally and publicly publishes is so ubiquitous that it is embodied
   7   in the Restatement (Second) of Torts § 652D, cmt. b (1977):
   8         There is no liability [for invasion of privacy] when the defendant
             merely gives further publicity to information about the plaintiff that is
   9         already public. Thus, there is no liability for giving publicity to facts
             about the plaintiff's life that are matters of public record . . .
  10
             [T]here is no liability [for invasion of privacy] for giving further
  11         publicity to what the plaintiff himself leaves open to the public eye.
             Thus he normally cannot complain when his photograph is taken while
  12         he is walking down the public street and is published in the defendant's
             newspaper. Nor is his privacy invaded when the defendant gives
  13         publicity to a business or activity in which the plaintiff is engaged
             in dealing with the public.
  14
       (emphasis added).
  15
             Indeed, Turner appears to agree that the VPPA was designed to protect private
  16
       video viewing habits because that information might “bear[] on [an individual’s]
  17
       personal affairs and concerns.” See Compl. ¶ 13. With that backdrop, it is apparent
  18
       Turner made her NNA Certification a matter of her public persona. Turner
  19
       voluntarily discloses that she had completed the Certification course to Meta by
  20
       publishing it on her Facebook profile. Decl. ¶ 40. Accordingly, the NNA’s alleged
  21
       disclosure to Meta of data related to Plaintiff’s Certification (even if it actually
  22
       occurred, which it did not) does not violate the VPPA’s “context-specific” privacy
  23
       right, because Turner voluntarily discloses this information to Meta. Eichenberger,
  24
       876 F.3d at 983.
  25
                    4.     Turner Has No Privacy Interest in Information She Has
  26                       Publicized to the General Public.
  27         Turner’s claim of a privacy interest in the NNA Certification is further
  28   undermined by her public disclosure (and promotion) of her completion of the NNA
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   1   course and her NNA Certification across the internet. Courts have roundly held that
   2   a person has not privacy interest in information voluntarily shared on the internet.
   3   See, e.g., Heldt v. Guardian Life Ins. Co. of Am., 16-CV-885-BAS-NLS, 2019 WL
   4   651503, at *7 (S.D. Cal. Feb. 15, 2019) (“the voluntary sharing of information on
   5   social media demonstrates Plaintiff did not have a reasonable expectation of privacy
   6   in that information”); Davidson v. Hewlett-Packard Co., 5:16-CV-01928-EJD, 2021
   7   WL 4222130, at *6 (N.D. Cal. Sept. 16, 2021), aff'd, 21-16707, 2022 WL 17352186
   8   (9th Cir. Dec. 1, 2022) (finding no reasonable expectation of privacy when Plaintiff
   9   repeatedly disclosed medical condition on publicly accessible blog); United States
  10   v. Meregildo, 883 F. Supp. 2d 523, 526 (S.D.N.Y. 2012) (posting to Facebook profile
  11   surrenders any expectation of privacy).
  12          Turner operates and promotes a public notary business. Decl. ¶ 41. Her
  13   Facebook Page and LinkedIn Profile are both public and tout her affiliation with the
  14   NNA and specifically her completion of the NNA Certification course, which she
  15   alleges is private information. Decl. ¶¶ 33-40. The Restatement’s comments are,
  16   again, poignant. See Restatement (Second) of Torts § 652D, cmt. b (1977) (“[t]here
  17   is no liability [for invasion of privacy] for giving further publicity to what the
  18   plaintiff himself leaves open to the public eye”). For all of the same reasons
  19   discussed in Subsection (3) above, Turner has no plausible claim of a privacy injury
  20   because she publicly disclosed the exact information that forms the basis of her
  21   VPPA claim. See e.g., Cook v. GameStop, Inc., 689 F. Supp. 3d 58, 63 (W.D. Pa.
  22   2023) (dismissing the plaintiff’s statutory and common law privacy claims, noting
  23   that a claim for “public disclosure of private information requires, obviously ‘private
  24   facts’”).
  25                5.     The NNA Did Not Disclose Turner’s Certification Course to
                           Meta.
  26
              Finally, Turner lacks standing because the NNA unequivocally does not
  27
       disclose video viewing information to Meta. Specifically, Turner’s theory is that:
  28
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   1          [the NNA] uses . . . the Meta Pixel to disclose . . . the specific title of
   2          video material that the person purchased (as well as the URL where
              such video material is available for purchase).
   3
       Compl. ¶ 60. The Complaint broadly discusses how the Meta Pixel could
   4
       hypothetically be configured to collect certain information, but she does not allege
   5
       facts demonstrating that the NNA’s Website was actually configured to collect either
   6
       the “specific title of video material” or the “the URL where such video material is
   7
       available for purchase.” See Compl. ¶¶ 42-67.
   8
              In fact, the NNA’s deployment of the Pixel on the Website did not collect
   9
       either. Decl. ¶ 19. Specifically, the NNA configured the Website and Pixel to not
  10
       allow Meta to see the “names of online education and training programs that are in
  11
       a visitor’s shopping cart or that are purchased by the visitor.” Decl. ¶ 19. Further,
  12
       the Website uses generic URLs when a visitor places an online educational program
  13
       into       their        shopping     cart    or     completes      a    purchase      (e.g.,
  14
       https://www.nationalnotary.org/shopping-cart). Decl. ¶ 20. Thus, the URLs do not
  15
       reveal any information about the program that a visitor purchased. Because the
  16
       alleged disclosure, as a matter of fact, did not occur, Turner has no plausible injury
  17
       in fact.
  18

  19          B.          PLAINTIFF FAILS TO STATE A VPPA CLAIM.
              If Turner could somehow clear the hurdle of demonstrating Article III
  20
       standing, her Complaint still fails to plead a plausible VPPA Claim. First, the NNA
  21
       is not a “video tape service provider” as a matter of law. See § III(B)(3), infra.
  22
       Second, Turner cannot demonstrate that the NNA knowingly disclosed her personal
  23
       video viewing information (“PII”). See § III(B)(4), infra.
  24

  25                      1.    Rule 12(b)(6) Standard of Review
              “To survive a motion to dismiss, a plaintiff must plead enough facts to state a
  26
       claim to relief that is plausible on its face.’” Opperman v. Path, Inc., 87 F.Supp.3d
  27
       1018, 1035 (N.D. Cal. 2014) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
  28
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   1   570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content
   2   that allows the court to draw a reasonable inference that the defendant is liable for
   3   the misconduct alleged.” Id. (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).
   4   “On a motion to dismiss, the Court accepts the material facts alleged in the
   5   complaint, together with all reasonable inferences to be drawn from those facts, as
   6   true.” Oracle Am., Inc. v. Hewlett Packard Enter. Co., No. 16-CV-01393-JST, 2017
   7   WL 2672113, at *1 (N.D. Cal. Jan. 19, 2017) (citation omitted). However, the “tenet
   8   that a court must accept a complaint’s allegations as true is inapplicable to threadbare
   9   recitals of a cause of action’s elements, supported by mere conclusory statements.”
  10   Iqbal, 556 U.S. at 678.
  11                2.     This Court Should Take Judicial Notice of Plaintiff’s
                           LinkedIn and Facebook pages, and the NNA’s Privacy
  12                       Policy.
  13         With respect to NNA’s Rule 12(b)(6), this Court pursuant to Federal Rule of
  14   Evidence 201 should take judicial notice of the copies of Turner’s public Facebook
  15   and LinkedIn profiles, and her business website which are verified and incorporated
  16   into this Motion.6 A court “may take judicial notice on its own” or “must take judicial
  17   notice if a party requests it and the court is supplied with the necessary information.”
  18   Fed. R. Evid. 201(c) (emphasis added). “In general, websites and their contents may
  19   be judicially noticed.” Threshold Enterprises Ltd. v. Pressed Juicery, Inc., 445 F.
  20   Supp. 3d 139, 142 (N.D. Cal. 2020). These documents show that the information that
  21   Turner alleges was disclosed by NNA to Meta was not private, and even it was, she
  22   consented to the disclosure.
  23         The Court may look beyond the complaint in a Rule 12 motion to “consider
  24   evidence on which the complaint necessarily relies if: (1) the complaint refers to the
  25   document; (2) the document is central to the [Turner’s] claim; and (3) no party
  26
       6
  27  As explained in Section III(A)(1), the Court may consider the Declaration and
     exhibits in connection with NNA’s Rule 12(b)(1) factual challenge. See nt. 2, 5,
  28 supra.
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   1   questions the authenticity of the copy attached to the 12(b)(6) motion.” Daniels-Hall
   2   v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010) (citations omitted); see also
   3   Zella v. E.W. Scripps Co., 529 F. Supp. 2d 1124, 1128 (C.D. Cal. 2007) (“a court may
   4   consider documents which are not physically attached to the complaint but ‘whose
   5   contents are alleged in [the] complaint and whose authenticity no party questions.’”).
   6         All of these requirements are met here. The crux of Turner’s claim is that
   7   information regarding her NNA Certification was “Private Video Information,” and
   8   that NNA’s alleged disclosure was unauthorized. Compl. ¶¶ 9-12. Public documents
   9   demonstrating that information is not private (because Turner actively published that
  10   information in the public sphere), and that Turner authorized the alleged disclosure,
  11   are central to her claim. The attached copies are authenticated by the NNA’s
  12   representative, and courts routinely take judicial notice this type of information. See
  13   D’Angelo v. FCA US, LLC, 726 F. Supp. 3d 1179, 1190 (S.D. Cal. 2024) (taking
  14   judicial notice of a website’s privacy policy and screenshots of the website’s
  15   homepage and initial cookie disclosure); Al -Ahmed v. Twitter, Inc., 603 F. Supp. 3d
  16   857, 869 (N.D. Cal. 2022) (judicial notice of the landing page of the plaintiff’s Twitter
  17   account, a public post on the account, and a press release page); In re Google Assistant
  18   Privacy Litig., 457 F. Supp. 3d 797, 813–14 (N.D. Cal. 2020) (judicial notice of
  19   Google’s Terms of Service, Privacy Policy, and a Google blog post); Lindora, LLC
  20   v. Limitless Longevity LLC, No. 15-CV-2847-JAH (KSC), 2016 WL 6804443, at *3
  21   (S.D. Cal. Sept. 29, 2016) (judicial notice of social media); Perkins v. LinkedIn Corp.,
  22   53 F. Supp. 3d 1190, 1205 (N.D. Cal. 2014) (judicial notice of the LinkedIn profiles
  23   of the named plaintiffs).
  24                3.     The NNA is not a “Video Tape Service Provider.”
  25         To state a VPPA claim, plaintiffs must allege defendant (1) is a video tape
  26   service provider; (2) who knowingly disclosed to any person; (3) personally
  27   identifiable information; (4) concerning any consumer. See § 18 U.S.C. §
  28   2710(b)(1). A business is a video tape service provider” (“VTSP”) if they are
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   1   “engages in the business” of renting, selling or delivering “prerecorded video
   2   cassette tapes” or “similar audio visual materials.” 18 U.S.C. § 2710(a)(4).
   3         Turner’s Complaint is devoid of any allegations demonstrating: (a) the
   4   programs the NNA provides are “prerecorded video cassette” or “similar audio-
   5   visual materials,” or (b) that the NNA is primarily in the business of renting, selling
   6   or delivering those materials. See id.
   7                        a.    The NNA is Not Primarily “Engaged the Business” of
                                  Renting, Selling or Delivering Covered Audio Visual
   8                              Materials.
   9         Turner does not allege any facts demonstrating that the NNA is primary
  10   “engaged in the business” of selling covered are “prerecorded video cassette” or
  11   “similar audio-visual materials” (generally referred to as “covered video materials”).
  12   It not sufficient that a company is “peripherally or passively involved” in delivery
  13   of covered video materials. In re Vizio, Inc., Consumer Priv. Litig., 238 F. Supp. 3d
  14   1204, 1221-22 (C.D. Cal. 2017). Rather, the delivering covered video materials must
  15   be the “focus of the defendant’s work.” Id; see also Rodriguez v. JD Boden Servs.,
  16   Inc., 2024 WL 559228, at *4 (S.D. Cal. Feb. 12, 2024) (The “defining feature, or at
  17   least not a de minimus feature, of the business” must be “the rental, sale or delivery
  18   of audio visual materials.”); Walsh, 2024 WL 3593569, at *5 (mere presence of
  19   videos on a website is insufficient to establish that videos are “a focus” of
  20   defendant’s work).
  21         Thus, merely pleading, as Turner does here, that the NNA “[h]ost[s] and
  22   create[es] prerecorded videos for the purpose of marketing its products does not
  23   suffice to plausibly allege [that the NNA] is a video tape service provider.” Cantu v.
  24   Tapestry, Inc., 697 F. Supp. 3d 989, 993 (S.D. Cal. 2023). See Compl. ¶ 76. And
  25   while courts have not outlined the exact contours of when the delivery of covered
  26   video materials rises to the level of being the “defining feature” and “focus of the
  27   defendant’s work,” Turner does not make any factual allegation(s) that support the
  28   requisite level of focus exists here. Rodriguez, 2024 WL 559228, at *4; In re Vizio,
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   1   Inc., Consumer Priv. Litig., 238 F. Supp. 3d 1204, 1221-22. On the contrary,
   2   Turner’s own allegations recognize that the NNA is multifaceted non-for-profit
   3   corporation that “serv[es] notaries and train[s] persons to be notaries through
   4   certifications, trainings, seminars, conferences, and printed and online educational
   5   materials that accompany these programs.” Compl. ¶ 14.             And the NNA has
   6   submitted a declaration attesting to the fact that only a small sliver of its operations
   7   involve online education (1-10%) and that the majority of the NNA’s operations are
   8   devoted to public advocacy, bonding and insurance, product sales, and networking
   9   directories.
  10         Turner’s only relevant allegation is her red herring claim NNA is “engaged in
  11   the business of selling and delivering” covered video materials “to consumers
  12   nationwide.” Compl. ¶ 76. But the relevant inquiry is whether delivering covered
  13   video materials is the “defining feature” the NNA’s business (not where a business
  14   delivers its product. Rodriguez, 2024 WL 559228, at *4. Indeed, under Turner’s
  15   interpretation of the VPPA, any business that has a website that hosts a single
  16   covered video would be transformed into a “video tape service provider.” Such an
  17   interpretation stretches the plain meaning of the term “video tape service provider”
  18   well beyond the intended statutory purpose of the VPPA.
  19                       b.     Turner Does Not Adequately Allege that the NNA
                                  Sells Covered “Audio-Visual Materials.”
  20
             Turner’s Complaint also fails to adequately allege that the online educational
  21
       programs offered by the NNA are covered video materials (i.e., either a “prerecorded
  22
       video cassette” or “similar audio-visual materials”). “Congress’s concern with
  23
       privacy and protecting the confidentiality of an individual’s choices is relevant
  24
       context to the Senate Report’s discussion of similar audio visual materials, such as
  25
       laser discs, open-reel movies, and CDI technologies.’” In re Hulu Priv. Litig., No. C
  26
       11-03764 LB, 2012 WL 3282960, at *6 (N.D. Cal Aug. 10, 2012) (citing S. Rep.
  27
       No. 100–599 at 12). The “similar” materials contemplated by Congress were hours-
  28
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   1   long video recordings such as motion pictures (“open-reel movies”) made available
   2   at the typical brick-and-mortar stores that existed when Congress drafted the VPPA.7
   3   Plaintiff fails to plead any facts describing how or otherwise suggesting that the
   4   “video products and services” referenced in her Complaint are similar to the
   5   prerecorded video cassette tapes and other materials that Congress sought to protect
   6   under the VPPA.
   7                4.    Turner Also Fails to Adequately Allege “Disclosure” Under
                          the VPPA.
   8
             Next, Turner also fails to allege facts demonstrating that the NNA: (a)
   9
       knowingly, (b) disclosed, (c) “information [that] identifies [Turner] as having
  10
       requested or obtained specific video materials or services” from the NNA (i.e., PII).
  11
       18 U.S.C. § 2710(b)(1); Robinson v. Disney Online, 152 F. Supp. 3d 176, 179
  12
       (S.D.N.Y. 2015). As set forth below, Turner fails this prong for serval reasons:
  13
                          a.     First, the Alleged Disclosure Did Not Occur.
  14
             As set forth in § III(A)(5), supra, the NNA configured the Meta Pixel not to
  15
       disclose the “specific title of video material” or the “URL where such video material
  16
       is available for purchase” to Meta. Decl. ¶ 19; Compl. ¶¶ 42-67. Because the alleged
  17
       disclosure did not occur, Turner’s VPPA claim fails as a matter of law.
  18
                          b.     Second, Turner Cannot Demonstrate a Disclosure of
  19                             PII Because the Information Allegedly Disclosed is
                                 Public.
  20
             As set forth above in III(A), infra, Congress enacted the VPPA to codify a
  21
       narrow and “context-specific extension of the substantive right to privacy” in an
  22
       individual’s “video-viewing history.” Eichenberger, 876 F.3d at 983 (emphasis
  23
       omitted). The VPPA protects from the disclosure of private information, but that
  24
       privacy interest evaporates when individual makes that information public. See
  25
       Osheske, 700 F. Supp. 3d at 926-27. Turner has no privacy interest in her NNA
  26
  27  See also “laser disc” (1), https://www.merriam-
       7
     webster.com/dictionary/laser%20disc (“one containing a video recording (as of a
  28 movie”)) (last accessed March 6, 2025).
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   1   Certification course because she publicized taking that course on her Facebook
   2   profile, LinkedIn Profile, and business website. See III(A), infra,
   3                      c.     Third, Turner Does Not Allege Facts Sufficient to
                                 Demonstrate that a “Disclosure” of PII Occurred.
   4
             The VPPA requires Turner to allege facts demonstrating that the information
   5
       that the NNA disclosed “identifies [Turner] as having requested or obtained specific
   6
       video materials or services” from the NNA (i.e., PII). 18 U.S.C. § 2710(a)(3). Turner
   7
       must demonstrate that the NNA disclosed “information that would readily permit an
   8
       ordinary person to identify” that Turner requested the covered video material from
   9
       the NNA. In re Nickelodeon Consumer Privacy Litig., 827 F.3d at 267;
  10
       Eichenberger, 876 F.3d at 985 (adopting the Third Circuit’s “ordinary person”
  11
       standard).
  12
             Turner’s theory is Meta has able to determine she obtained the NNA
  13
       Certification course because Meta collected her Facebook ID. See Compl. ¶ 62.
  14
       Courts discussing the Meta Pixel have observed that it is able to collect this
  15
       information by interacting with “cookies” (small text files) that are placed on the
  16
       user’s browser.” In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 596 (9th
  17
       Cir. 2020). These cookies are placed on a device when a user creates or logs in to a
  18
       Facebook account, and the cookies store the user’s FID. Id.
  19
             Thus, for Meta to identify Turner as having requested or obtained specific NNA
  20
       content, Facebook would have had to place cookies on the specific device she used to
  21
       access the NNA’s Certification course. However, Turner only alleges that she had a
  22
       Facebook account, not that she, at that time that the NNA allegedly disclosed her
  23
       Certification course to Meta, was either: (a) contemporaneously logged into her
  24
       Facebook account, or (b) using a personal device that carried Facebook cookies.
  25
       Moreover, Turner does not allege that the NNA ever possessed or disclosed Plaintiff’s
  26
       FID. Therefore, Turner fails to allege facts sufficient to demonstrate that the NNA
  27
       disclosed “information that would readily permit an ordinary person to identify” that
  28
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   1   Turner requested the covered video material from the NNA.
   2                          d.    Fourth, an FID is not PII.
   3          Even Turner properly alleged that the Meta Pixel captured Turner’s FID, an FID
   4   is not PII. The information collected and stored by Meta Pixel, on its face, is not “the
   5   kind of information that would readily permit an ordinary person to identify a specific
   6   individual’s video-watching behavior.” In re Nickelodeon Consumer Privacy Litig.,
   7   827 F.3d at 267 (emphasis added); Edwards v. Learfield Commc’ns, LLC, 697 F.
   8   Supp. 3d 1297, 1308 (N.D. Fl. 2023) (“Although Plaintiffs do allege that the
   9   [defendant’s website] transmits metadata, which contains c_user IDs and ‘may’
  10   contain video titles, [citation omitted], they offer no facts explaining how Facebook
  11   accesses that metadata, why doing so does not require technical expertise, or how
  12   much metadata Facebook has to comb through to discover someone’s c_user ID and
  13   the video titles.”).
  14          Even if this code could be deciphered by an ordinary person without technical
  15   expertise, Plaintiff has not alleged facts establishing that the Facebook ID (“FID”)
  16   contained within the code constitutes PII. An FID is merely a static digital identifier.
  17   The VPPA “protects personally identifiable information that identifies a specific
  18   person and ties that person to particular videos that the person watched.” In re
  19   Nickelodeon, 827 F.3d at 285 (quoting In re Hulu Priv. Litig., No. C 11-03764 LB,
  20   2014 WL 1724344, at *8 (N.D. Cal. Apr. 28, 2014) (emphasis added)). See also
  21   Robinson, 152 F. Supp. 3d at 182 (“information actually ‘disclos[ed]’ by a ‘video
  22   tape service provider’...must itself do the identifying...not information disclosed by
  23   a provider, plus other pieces of information collected elsewhere by non-defendant
  24   third parties.”) (emphasis added). The sole information allegedly disclosed—the
  25   FID—is not itself identifying because FIDs are merely static digital identifiers. Static
  26   digital identifiers include a unique device identifier that is “randomly generated
  27   when a user initially sets up his device and should remain constant for the lifetime
  28   of the user’s device.” Nickelodeon, 827 F.3d at 282, n.124 (citing Ellis v. Cartoon
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   1   Network, Inc., 803 F.3d 1251, 1254 (11th Cir. 2015). These random strings of
   2   numbers, when viewed by an ordinary person, do not identify a person. Rather, “[t]o
   3   an average person, an IP address or a digital code in a cookie file would likely be of
   4   little help in trying to identify an actual person.” Id. at 283 (emphasis added).
   5   Although some courts have since held an FID is PII because it can be plugged into
   6   Facebook and PII may be found on the resulting Facebook profile, this multi-step
   7   investigative process does not make the FID, shared through the cookies, PII.
   8          In Nickelodeon, the type of information at issue was plaintiff’s IP address,
   9   browser and operating system settings, and a computing device’s unique device
  10   identifier. Id. at 281-82. The court held “whatever else ‘personally identifiable
  11   information’ meant in 1988, it did not encompass” such static digital identifiers. Id.
  12   at 286. Unlike other statutes which “gave the FTC authority to expand the types of
  13   information that count as personally identifying under that law,” the VPPA “does
  14   not empower an administrative agency to augment the definition of ‘personally
  15   identifiable information’. . . The meaning of that phrase in the Act is . . . more static.”
  16   Id. Congress’s amendment of the VPPA in 2013 demonstrates Congress “was keenly
  17   aware of how technological changes have affected the original Act,” yet “did not
  18   update the definition of [PII].” Id. “What’s more, it chose not to do so despite . . .
  19   submitted written testimony that” specifically argued for “the addition of ... account
  20   identifiers to the definition of [PII].” Id. at 288.
  21          FIDs are not PII because they are merely static digital identifiers
  22   automatically sent through a cookie file to a single company, which is nothing like
  23   the purposeful and public disclosures of actual names with video viewing history to
  24   the public at large. See id. at 286; Edwards, 2023 WL 8544765, at *8. “The classic
  25   example will always be a video clerk leaking an individual customer’s video rental
  26   history,” and “every step away from that 1988 paradigm will make it harder for a
  27   plaintiff to make out a successful claim.” Nickelodeon, 827 F.3d at 286.
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   1                       e.     Fifth, Turner Does Not Adequately Allege a
                                  “Knowing” Disclosure by the NNA.
   2
             Plaintiff fails to allege facts suggesting that NNA knowingly disclosed PII.
   3
       Plaintiff does not allege the NNA had any way to know whether she, or any other
   4
       user, had an FID, much less what were those FIDs. Therefore, the Complaint does
   5
       not and cannot plausibly assert the NNA knowingly disclosed Plaintiff’s FID, let
   6
       alone PII, to Facebook.
   7
                                               ***
   8
                    For all the reasons set forth above, this Court should dismiss Plaintiff’s
   9
       Complaint under Fed. R. Civ. P. 12(b)(6).
  10
             C.     THE VPPA, AS INTERPRETED AND APPLIED BY
  11                PLAINTIFF, IS UNCONSTITUTIONAL.
  12                1.     As Applied, the VPPA Violates the Fifth Amendment.
  13         If the VPPA is interpreted in the manner Plaintiff advocates, then it is
  14   unconstitutionally vague in violation of the Due Process Clause of the Fifth
  15   Amendment. “A fundamental principle in our legal system is that laws which regulate
  16   persons or entities must give fair notice of conduct that is forbidden or required.”
  17   F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012) (citing Connally v.
  18   General Constr. Co., 269 U.S. 385, 391 (1926) (“[A] statute which either forbids or
  19   requires the doing of an act in terms so vague that men of common intelligence must
  20   necessarily guess at its meaning and differ as to its application, violates the first
  21   essential of due process of law”).) “This requirement of clarity in regulation is
  22   essential to the protections provided by the Due Process Clause” and “requires the
  23   invalidation of laws that are impermissibly vague.” F.C.C., 567 U.S. at 253. Due
  24   Process requires “first, that regulated parties should know what is required of them so
  25   they may act accordingly; second, precision and guidance are necessary so that those
  26   enforcing the law do not act in an arbitrary or discriminatory way.” Id.
  27         The recent explosion of VPPA litigation is due to vague references to “any
  28   person, engaged in the business . . . of rental, sale or delivery of prerecorded video
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   1   cassette tapes or similar audio visual materials,” and “any renter, purchaser, or
   2   subscriber of goods or services from a video tape service provider.” 18 U.S.C. §
   3   2710(a)-(b) (emphasis added). Plaintiffs in cases such as this one are advocating for
   4   the statute to apply to entities that had no notice it applied to them or the conduct at
   5   issue in this case. Entities are being arbitrarily and discriminatorily subjected to class
   6   action lawsuits and potentially could face multi-million-dollar statutory damages and
   7   reputational injury based on their otherwise legal marketing practices. See 18 U.S.C.
   8   § 2710(c); see also F.C.C., 567 U.S. at 255 (“reputational injury provides further
   9   reason for granting relief”). That violates Due Process.
  10                2.     As Applied, the VPPA Violates the First Amendment.
  11         “Congress shall make no law . . . abridging the freedom of speech.” U.S. Const.
  12   Amend. I. Restrictions on access to information in private hands, such as customer
  13   data, violate the First Amendment. See Sorrell v. IMS Health Inc., 564 U.S. 552, 577
  14   (2011) (Vermont statute purporting to restrict pharmacies from selling retained
  15   information about drug prescribing habits of doctors to pharmaceutical companies for
  16   marketing purposes violated First Amendment); U.S. West, Inc. v. FCC, 182 F.3d
  17   1224, 1224 (10th Cir. 1999) (FCC regulation violated First Amendment where it
  18   restricted telecommunication carriers from using customer information “that is made
  19   available to the carrier by the customer solely by virtue of the carrier-customer
  20   relationship” because it made speech more difficult by limiting the ability of carriers
  21   to target their speech to a particular audience).
  22         Like the information in Sorrell and U.S. West, the information at issue here is
  23   commercial speech. Any restriction must meet three conditions: (1) the government
  24   must have a “substantial interest in regulating the speech,” (2) the regulation must
  25   “directly and materially advance[] that interest,” and (3) the regulation must be “no
  26   more extensive than necessary to serve the interest.” Central Hudson Gas & Electric
  27   Corp. v. Public Service Commission, 447 U.S. 557, 566 (1980). In addition, the
  28   “language may not be unconstitutionally vague or its prohibitions too broad in their
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   1   sweep, failing to distinguish between conduct that may be proscribed and conduct that
   2   must be permitted.” Broadrick v. Oklahoma, 413 U.S. 601, 607 (1973).
   3                        a.     No Substantial Interest
   4          There is no “substantial interest” in restricting disclosure of “information which
   5   identifies a person as having requested or obtained specific video materials or
   6   services.” 18 U.S.C. § 2710. “[W]ithout persuasive evidence that a novel restriction on
   7   content is part of a long (if heretofore unrecognized) tradition of proscription, a
   8   legislature may not revise the judgment [of] the American people, embodied in the
   9   First Amendment, that the benefits of its restrictions on the Government outweigh the
  10   costs.” Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 792 (2011). There is no
  11   “persuasive evidence” that these restrictions are part of a long “tradition of
  12   proscription.” Id. The history of movies began with attending movie showings in
  13   public theaters.
  14                        b.     Not Appropriately Tailored
  15          Even if there is a “substantial” interest, “[t]here must be a ‘fit between the
  16   legislature’s ends and the means chosen to accomplish those ends.’” Sorrell, 564 U.S.
  17   at 57. “These standards ensure . . . the State’s interests are proportional to the resulting
  18   burdens placed on speech . . . .” Id. The consent requirements in § 2710(b)(2)(B)(i)-
  19   (iii) fail these standards. The purported privacy interest ends once “informed,
  20   written consent” is obtained. Congress should have stopped there: “informed,
  21   written consent ... that ...” acknowledges informed consent can be obtained in many
  22   ways. Elsewhere in the federal code, “implied consent” stands on its own as a
  23   principle subject to rulemaking, see, e.g., 38 U.S.C. § 7331, underscoring the lack
  24   of a single definition.
  25          But §2710(b)(2)(B)(i)-(iii) does not materially advance the purported
  26   interests and goes far beyond the prevailing understanding of enforceability of
  27   online Terms and Conditions or Privacy Policies. See, e.g., Meyer v. Uber Techs.,
  28   Inc., 868 F.3d 66 (2d Cir. 2017) (“clickwrap” agreements “routinely” enforced).
                                              24                CASE NO.: 2:25-CV-00334-FMO-PD
  30                       NOTICE OF MOTION AND RULE 12 MOTION TO DISMISS;
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   1         The VPPA, when applied to the NNA and the actions involved in this case,
   2   infringes upon the NNA’s Due Process and First Amendment rights. If the VPPA is
   3   interpreted in the manner that Plaintiff suggests, the NNA would be classified as a
   4   “video tape service provider” and, therefore, prohibited from sharing otherwise
   5   lawful commercial information with third parties. This would be the case even
   6   though the NNA bears no resemblance to the “video rental store” that Congress had
   7   in mind when drafting the VPPA.
   8

   9   Dated: March 7, 2025                  CLARK HILL LLP
  10
                                             By: /s/ Myriah V. Jaworski
  11                                                 Myriah Jaworski
  12                                         Attorneys for Defendant National Notary
                                             Association
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   2                    (List of Other VPPA Cases Filed by Hedin LLP)
   3   1. Cochenour v. 360Training.com, Inc., No. 1:25-CV-00007 (W.D. Tex. Jan. 2,
          2025).
   4
       2. Michael Archer v. NBC Universal Media LLC et al, No. 2:24-CV-10744 (C.D.
   5      Cal. Dec. 13, 2024).
   6   3. Damrau et al v. Colibri Group, Inc., No. 4:24-CV-01441 (E.D. Mo. Oct. 25,
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   7
       4. Kueppers et al v. Zumba Fitness, LLC, 0:24-CV-61983 (S.D. Fla. Oct. 23,
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   9   5. Guereca v. Motorsport.tv Digital, LLC, No. 1:24-CV-24066 (S.D. Fla. Oct. 21,
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       7. Manza, Dana v. Pesi, Inc., No. 3:24-CV-00690 (W.D. Wis. Oct. 3, 2024).
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       8. Jordan v. Crunch, LLC, No. 1:24-CV-07118 (S.D. N.Y. Sept. 19, 2024).
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       9. Comarow v. TRTCLE, Corp., No. 1:24-CV-07096 (S.D. N.Y. Sept. 18, 2024).
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       10. Carruth v. KD Creatives, Inc., No. 2:24-CV-02484 (E.D. Cal. Sept. 12, 2024).
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       11. Harlos v. LexVid Services, Inc., No. 3:24-CV-01621 (S.D. Cal. Sept. 11,
  16       2024).
  17   12. Harper, Kendra v. NBI, Inc., No. 3:24-CV-00644 (W.D. Wis. Sept. 11, 2024).
  18   13. Ezpeleta v. FurtherEd, Inc., No. 1:24-CV-06709 (S.D. N.Y. Sept. 4, 2024).
  19   14. Stachovic v. Pig Newton Inc., No. 1:24-CV-06589 (S.D. N.Y. Sept. 3, 2024).
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       16. Golland et al v. Major League Baseball Advanced Media, L.P., No. 1:24-CV-
  22       06270 (S.D. N.Y. Aug. 20, 2024).
  23   17. Silva v. Yanka Industries, Inc., No. 3:24-CV-05264 (N.D. Cal. Aug. 16, 2024).
  24   18. Macalpine et al v. Onnit, Inc., No. 1:24-CV-00933 (W.D. Tex. Aug. 15, 2024).
  25   19. Feller et al v. Alliance Entertainment, LLC et al, No. 0:24-CV-61444 (S.D.
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       20. Brown et al v. WalMart, Inc., No. 5:24-CV-05144 (W.D. Ark. Jul. 15, 2024).
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